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   KROG Partners, LLC                         Balance Sheet
    19-32190


                                                  06/30/19
Assets
Checking
   Chase Bank 1St Collateral X7910                   25,039.13
   Chase Bank 2nd Collateral X9532                   25,035.15
   Prosperity Bank House 9429                             0.00
   Prosperity Bank Checking 1710                          0.00
                                                     50,074.28

Accounts Receivable                                  53,513.08

Other Current Assets
   Deposits                                               0.00
   Investments - Stocks                                  25.18
                                                         25.18

Unbilled Revenue & Expenses                         273,377.79

Total Current Assets                                376,990.33

Fixed Assets
    Intangible Drilling Costs                       179,938.55
    Leasehold Cost                                   72,331.16
    Accumulated DD&A                                    (36.78)
    Oil and Lease Properties proved                 456,788.14
    Undeveloped Acreage                              12,282.60
    Wells and Equipment                             110,083.83
Total Fixed Assets                                  831,387.50

Other Assets
   Kelly Rig Work Over NonConsent                    46,443.83

Total Other Assets                                   46,443.83

Total Assets                                      1,254,821.66




Liabilities and Equity
Liabilities
    Accounts Payable                              1,132,044.70
    Melvin Reams                                     26,648.05
    Intercompany - Doviak                            20,591.57
    Prepayments                                      22,802.00
    Unbilled Revenue & Expenses                     297,411.79
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Total Current Liabilities                         1,499,498.11

Long Term Liabilities
   Notes Payable                                    824,617.00

Total Liabilities                                 2,324,115.11

Equity
    Additional paid in capital                      201,000.00
    Capital Stock                                   541,000.00
    Retained Earnings                            (1,804,631.68)
    Net Income                                       (6,661.77)
Total Equity                                     (1,069,293.45)

Total Liabilities & Equity                        1,254,821.66
